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 1   NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
     State Bar #CA 117234
 2   WILLIAM B. COSSITT, #3484
     JARED A. DAY, #CA 275687
 3
     Office of the United States Trustee
 4   300 Booth Street, Room 3009
     Reno NV 89509
 5   Telephone: (775) 784-5335
     Fax: (775) 784-5531
 6   Nick.Strozza@usdoj.gov
 7   Bill.Cossitt@usdoj.gov
     Jared.A.Day@usdoj.gov
 8
     Attorneys for United States Trustee
 9   Tracy Hope Davis
10

11                             UNITED STATES BANKRUPTCY COURT

12                                         DISTRICT OF NEVADA

13   In re:                                       )       Case no: BK-N-15-50292-btb
                                                  )       Chapter: 11
14   MARGARET LESLIE CANTLON,                     )
15   a/k/a Cindy Cantlon, Mrs. William            )       US TRUSTEE’S MOTION TO
     McKean Cantlon,                              )       DISMISS CASE
16                                                )
                                                  )       Hearing Date: September 5, 2017
17                            Debtors.            )       Hearing Time: 2:00p.m.
                                                  )       Est. Time Req.: 15 min.
18

19            Tracy Hope Davis, the United States Trustee (“US Trustee”), by and through her

20   undersigned attorney, hereby submits her Motion To Dismiss Case (“Motion”), based upon the

21   Debtor’s failures to comply with the requirements of the Bankruptcy Code, the Federal Rules of
22
     Bankruptcy Procedure, the Local Rules of Bankruptcy Practice, and the United States Trustee
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     Program Guidelines.
24
              This Motion is made pursuant to 11 U.S.C. Section 1112(b), and is based upon the
25
     Debtor’s:
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 1          1. Substantial or continuing loss to or diminution of the estate and the absence of a
 2   reasonable likelihood of rehabilitation; and
 3
            2. Failure to file plan status reports pursuant to LR 3016.
 4
            This Motion is based upon the following points and authorities, together with the entire
 5
     record in this case, of which the US Trustee respectfully requests the Court take judicial notice,
 6

 7   and such evidence as may be introduced at the hearing on this Motion.

 8                                    POINTS AND AUTHORITIES
 9          Pursuant to 28 U.S.C. § 586(a)(3), the US Trustee is charged with the responsibility for
10   supervising the administration of cases and trustees in cases under chapters 7, 11, 12 and 13 of
11   Title 11. To enable the US Trustee to carry out that duty, Congress has granted the US Trustee
12   standing to raise and to "appear and be heard on any issue in any case or proceeding" brought
13   under the Bankruptcy Code. 11 U.S.C. § 307. “In any case in which the United States trustee
14   finds material grounds for any relief under section 1112 of title 11, the United States trustee shall
15   apply promptly after making the finding to the court for relief.” 28 U.S. C. § 586(a)(8).
16   A.     Statement of Facts:
17          1. The Debtor commenced this case by filing a voluntary petition under chapter 11 on
18   March 5, 2015, over two years ago. Docket # 1.
19          2. The Debtor’s recently filed budget request indicates a diminishing of estate assets with
20   no reasonable likelihood of rehabilitation. Docket #180.

21          3. The Debtor has not filed the plan status reports quarterly, as required by LR 3016.

22          4. The Debtor has not filed a plan and has not filed a proposed disclosure statement since

23   June 22, 2015. Docket #72.
            5. The related adversary proceeding, No. 15-05047, has stalled with no pending hearings
24
     and the last pleading was filed May 26, 2016.
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 1   B.     Application of facts and legal authorities:
 2          1. The Debtor has a substantial or continuing loss to or diminution of the estate and the
 3
     absence of a reasonable likelihood of rehabilitation. The Debtor does not generate any non-
 4
     exempt income in excess of what is needed to support herself and the estate assets. The Debtor’s
 5
     Social Security income has properly been claimed as exempt and therefore comes into the
 6

 7   bankruptcy estate and then is exempted back out of the estate to the Debtor. Docket #36, pg. 1;

 8   11 U.S.C. § 522(b); Mwangi v. Wells Fargo Bank (In re Mwangi), 764 F.3d 1168, 1174-76 (9th

 9   Cir. 2014). The Social Security proceeds are therefore free for her use in her discretion without
10   Court approval.
11
            However, it has become necessary for the Debtor to consume substantial estate assets, the
12
     water rights sale proceeds, in order to maintain herself and the estate. Docket #180-1. The
13
     property has been listed for sale for two years without success. The Debtor continues to accrue
14

15   quarterly fees which diminish the estate’s values. Without a sale, of a sufficient amount, the

16   Debtor has no likelihood of rehabilitation.

17          “The issue of rehabilitation for purposes of § 1112(b)(4)(A) is not the technical
            one of whether the debtor can confirm a plan, but, rather, whether the debtor’s
18
            business prospects justify continuance of the reorganization effort.” In re
19          Wallace, 2010 Bankr. LEXIS 261, 2010 WL 378351 at *4 (Bankr. D. Idaho Jan.
            26, 2010) (quotations and citations omitted). “Rehabilitation is a different and
20          much more demanding standard than reorganization.” In re Creekside Senior
            Apartments, L.P., 489 B.R. at 61 (citing, In re Brutsche, 476 B.R. 298, 301
21          (Bankr. D.N.M. 2012) (citing 7 COLLIER ON BANKRUPTCY at ¶ 1112.04[6][a][ii])).
22
     In re Hassen Imps. P’ship., 2013 Bankr. Lexis 3870 (9th Cir. BAP 2013) (not for publication).
23
              Pursuant to 11 U.S.C. Section 1112(b)(4)(A), a “substantial or continuing loss to or
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     diminution of the estate and the absence of a reasonable likelihood of rehabilitation,” is sufficient
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     cause for dismissal. Therefore, cause exists for this case to be dismissed.
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 1          2. Failure to file plan status reports, pursuant to LR 3016. Pursuant to 11 U.S.C.
 2   §1112(b)(4)(F), an unexcused failure to file any required report is cause for dismissal of the case.
 3
     Pursuant to LR 3016, if a chapter 11 plan has not been filed or approved within six (6) months
 4
     after commencement of the case, the Debtor in possession must file a report with the court
 5
     explaining why a plan has not been filed or approved and set forth a schedule for filing and
 6

 7   hearing the disclosure statement and plan confirmation. The report shall be updated quarterly.

 8   The Debtor has failed to set a status conference or file any reports pursuant to LR 3016.

 9                                            CONCLUSION
10          WHEREFORE, for all the reasons stated above, the US Trustee respectfully requests the
11
     Court dismiss this case, and grant such other relief as the Court deems proper.
12
            DATED this 8th day of August, 2017.
13
                                                          Respectfully submitted,
14

15                                                        Nicholas Strozza
                                                          State Bar # CA 117234
16                                                        William B. Cossitt, State Bar #3484
                                                          Jared A. Day, #CA 275687
17                                                        300 Booth Street, #3009
                                                          Reno NV 89509
18
                                                          (775) 784-5335
19
                                                          /s/ WILLIAM B. COSSITT
20                                                        __________________________________
                                                          Attorneys for United States Trustee
21                                                        Tracy Hope Davis
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 1
                                      CERTIFICATE OF SERVICE
 2
     1.   On August 9, 2017 I served the foregoing US TRUSTEE’S MOTION TO DISMISS
 3   CASE by the following means to the persons as listed below:
 4
     ☑       a. ECF System:
 5
            MICHAEL W. CHEN bknotice@mccarthyholthus.com, mchen@ecf.courtdrive.com;
 6           nvbkcourt@mccarthyholthus.com; mchen@mccarthyholthus.com
            SHERRY A. MOORE BKNOTICE@MCCARTHYHOLTHUS.COM,
 7           NVBKCOURT@MCCARTHYHOLTHUS.COM
            SEAN P PATTERSON illegalpat@aol.com, sbcolling@gmail.com;
 8
             natesppbk@yahoo.com
 9          MARNI RUBIN-WATKINS marni.watkins@fnf.com, mia.hurtado@fnf.com;
             yesenia.enriquez@fnf.com
10          KRISTIN A. SCHULER-HINTZ bknotice@mccarthyholthus.com
            U.S. TRUSTEE - RN - 11 USTPRegion17.RE.ECF@usdoj.gov
11          JOHN WHITE john@whitelawchartered.com, john@whitelawchartered.com;
12           bankruptcy@whitelawchartered.com; admin@whitelawchartered.com;
             paralegal@whitelawchartered.com
13
     ☑     b. U.S. Mail, postage fully prepaid (list persons and addresses):
14   MARGARET LESLIE CANTLON
15   25 SOUTHRIDGE DR.
     RENO, NV 89509
16
     BERKSHIRE HATHAWAY
17   5390 KIETZKE LANE, STE 101
     RENO, NV 89511
18

19   WILLIAM G. KIMMEL
     1281 TERMINAL WAY, STE 205
20   RENO, NV 89502

21   RECOVERY MANAGEMENT SYSTEMS CORPORATION
     25 S.E. SECOND AVENUE, SUITE 1120
22   MIAMI, FL 33131-1605
23
             I declare under penalty of perjury that the foregoing is true and correct.
24
             Dated this 9th day of August, 2017.
25
                                            /s/ Robbin Little
26
                                            An employee of the United States Trustee
27

28                                                     5
